                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

GREGORY STILLMAN,                                 )
                                                  )
                Plaintiff,                        )
                                                  )
                v.                                )          Case No. 4:19-0222-DGK
                                                  )
WAL-MART STORES EAST I, LP,                       )
                                                  )
                Defendant.                        )

                     ORDER REGARDING SECOND DISCOVERY DISPUTE

        This lawsuit arises from Plaintiff Gregory Stillman’s allegation that he suffered a serious

head injury when he walked into Defendant Walmart’s Garden Center and struck his head on a

low-hanging overhead door. Among other injuries, Plaintiff alleges the accident left him with

hearing loss.

       Now before the Court is the parties’ second discovery dispute, a dispute concerning

Plaintiff’s employment records. After reviewing the parties’ filings (Docs. 68-71), the Court has

determined that no teleconference is necessary for the Court to rule on this matter.

       The background to this dispute is as follows. On June 25, 2020, Plaintiff submitted

supplemental answers to Defendant’s First Interrogatories. The supplemental answers disclosed

that Plaintiff had obtained a new job at WESCO Distribution on March 16, 2020, working in a

desk position where he is being “provided with headphone equipment to accommodate him with

respect to his hearing problems.”       In response, Defendant requested Plaintiff provide an

authorization allowing Defendant to obtain a copy of his personnel file from WESCO Distribution.

During a subsequent phone call with Defense counsel, Plaintiff’s counsel confirmed that although




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Plaintiff had withdrawn his claim for lost wages, he nonetheless planned to testify about the impact

of his injuries on his employment.

       Defendant argues that by alleging his injuries have impacted his employment, Plaintiff has

raised an issue to which his employment records relate. Thus, Defendant is entitled to review

Plaintiff’s employment records to discover whether, and to what extent, Plaintiff claimed to be

disabled during the hiring process. This includes any disclosures Plaintiff made about hearing

loss made on his job application, whether Plaintiff requested an accommodation for hearing loss,

and whether Plaintiff’s job description includes the use of headphones as mandatory or optional

equipment.

       Plaintiff responds that the Court should deny Defendant’s request because: (1) discovery

is closed; (2) Plaintiff’s supplement does not warrant reopening discovery; and (3) Defendant’s

request for discovery is not proportional to Plaintiff’s claims.

       Plaintiff’s argument is unavailing. Although discovery has closed, Defendant’s request is

permissible because Plaintiff has asserted for the first time, after the close of discovery, that the

hearing loss caused by the accident is so severe that it resulted in him having to wear headphones

in order to work a desk job.         And by alleging that Plaintiff’s injuries have impacted his

employment—even after withdrawing his claim for lost wages—Plaintiff has placed the extent to

which his injuries have impacted his employment—and potentially future employment—at issue.

Thus, Defendant’s request is a proportional, permissible request for discovery.

       Defendant’s request is GRANTED. Plaintiff shall provide Defendant an authorization

allowing Defendant to obtain a copy of Plaintiff’s personnel file from WESCO Distribution within

seven days.



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      IT IS SO ORDERED.

Date: July 8, 2020                 /s/ Greg Kays
                                   GREG KAYS, JUDGE
                                   UNITED STATES DISTRICT COURT




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